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4
     Attorney for Defendant
5    EILEEN KNIGHT
6
                            IN THE UNITED STATES DISTRICT COURT
7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,              ) CR. NO. 12-169-MCE
10                                          )
                        Plaintiff,
11                                          )       WAIVER OF
          v.                                ) DEFENDANT’S PRESENCE
12
                                            )
     EILEEN KNIGHT,
13                                          )
14                                          )
                        Defendant.
                                            )
15                                          )
     _______________________________
16
17        Defendant, EILEEN KNIGHT, hereby waives the right to be in person

18   in open court upon the hearing of any motion or to her proceeding in

19   this cause, including, but not limited to, when the case is ordered set

20   for trial, when a continuance is ordered, and when any other action is

21   taken by the court before or after trial, except upon arraignment,

22   plea, impanelment of jury and imposition of sentence.             Defendant hereby

23   requests the court to proceed during every absence of which the court

24   may permit pursuant to this waiver; agrees that her interest will be

25   deemed represented at all times by the presence of her attorney, the

26   same as if defendant were personally present; and further agrees to be

27   present in person in court ready for trial any day and hour the court

28   may fix in her absence.
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1         Defendant further acknowledges that she has been informed of her
2    rights under Title 18 U.S.C. sections 3161-3174 (Speedy Trial Act), and
3    authorizes her attorney to set times and delays under that Act without
4    defendant being present.
5    Dated: June 7th, 2012
6                                           /s/Christopher Haydn-Myer
                                            CHRISTOPHER HAYDN-MYER
7                                           Attorney for Defendant
                                            EILEEN KNIGHT
8
9    Dated: June 7th, 2012                  I consent to the above waiver of
                                            presence.
10
11                                           /s/ Eileen Knight [Original is signed
                                            by Ms. Knight and is in counsel’s file.
12                                          EILEEN KNIGHT
13
                                          ORDER
14
15        I approve the above waiver of presence.         IT IS SO ORDERED.

16
17   Dated: June 22, 2012
18
19
                                          _____________________________
20
                                          MORRISON C. ENGLAND, JR.
21                                        UNITED STATES DISTRICT JUDGE
22
23
24
25
26
27
28                                           2
